                  Case: 4:15-cr-00049-CDP Doc. #: 253 Filed: 01/05/16 Page: 1 of 7 PageID #: 1304
 AO 245B (Rev. 10/15)

   Sheet 1- Judgment in a Criminal Case


                                        United States District Court
                                                            Eastern District of Missouri
                         UNITED STATES OF AMERICA
                                          v.                                   JUDGMENT IN A CRIMINAL CASE
                                                                                                                                       J
                        JASMINKA RAMIC
                                                                              CASE NUMBER: Sl-4:15CR00049-6 CDP
                                                                                USM Number: 42397-044
                                                                                                 ~~~~~~~~~~~~~-




   THE DEFENDANT:                                                               J. Christian Goeke
        I
                                                                                Defendant's Attorney
    ~           pleaded guilty to count(s)     one of the Superseding Information on September 28, 2015.

    ~           pleadednolocontendereto coun~s)          -------------------------------~
                which was accepted by the court.
        was found guilty on count(s)
   D    after a plea of not guilty
   The defendant is adjudicated guilty of these offenses:
                                                                                                                Date Offense   Count
  Title & Section                                    Nature of Offense                                          Concluded    Numbef(s)
.18 u.s.c. § 371                                   Conspiracy to Commit Offenses Against the United        May 2013              One
                                                   States                                                  through
                                                                                                           February 2015




    ! The defendant is sentenced as provided in pages 2 through  6 of this judgment. The sentence is,-imposed pursuant
  to the Sentencing Reform Act of 1984.                         --
    I


   [J           The defendant has been found not guilty on count(s) - - - - - - - - - - - - - - - - - - - - - - - - - -
    i       \                                                .
   [8J          Count(s) one and three of the original indictment       are      dismissed on the motion of the United States.
    I
  It.lis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
  triailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
' restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
    I                                          .

   I                                                                             January 5, 2016
                                                                                 Date oflmposition of Judgment




                                                                                 Signature ofJudge

                                                                                 Honorable Catherine D. Perry
                                                                                 United States District Judge
                                                                                 Name & Title of Judge


                                                                                 January 5, 2016
                                                                                 Date signed

    Record No.: 97
                 Case: 4:15-cr-00049-CDP Doc. #: 253 Filed: 01/05/16 Page: 2 of 7 PageID #: 1305
AO 245B (Rev. 10/15)     Judgment in Criminal Case   Sheet 2 - Imprisonment

                                                                                                                Judgment-Page   _2_     of   _6__
    DEFENDANT: JASMINKA RAMIC
    CASE NUMBER: SI-4:15CR00049-6 CDP
    Di.strict:    Eastern District of Missouri
                                                              IMPRISONMENT
      : The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
    a iota! term of 36 m th
      I                  on s.                                ·
       I
      !
       I
       I

      1
      I
      I

      i
      ·1
       I
      I

I~          The court makes the following recommendations to the Bureau of Prisons:
I     .
    tqat the defendant be evaluated for placement in a facility as close as possible to Rockford, Illinois and for participation in mental health
    tr,eatment. Such recommendations are made to the extent they are consistent with the Bureau of Prisons policies.
      I

      II·
    ~ The defendant is remanded to the custody of the United States Marshal.
      I
    [IJ     The defendant shall surrender to the United States Mar"shal for this district:

            D     at                       a.m./pm on
            D     as notified by the United States Marshal.

    [J      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D     before 2 p.m. on

            D     as notified by the United States Marshal
            D     as notified by the Probation or Pretrial Services Office




                                      MARSHALS RETURN MADE ON SEPARATE PAGE
                Case: 4:15-cr-00049-CDP Doc. #: 253 Filed: 01/05/16 Page: 3 of 7 PageID #: 1306
AO 2458 (Rev. 10/15)     Judgment in Criminal Case     Sheet. 3 - Supervised Release

                                                                                                                  Judgm~nt-Page _ _
                                                                                                                                  3_ of _6__
    DEFENDANT: JASMINKA RAMIC
    CASE NUMBER: Sl-4:15CR00049-6 CDP
    District:     Eastern District of Missouri
                                                          SUPERVISED RELEASE
            Upon release from imprisonment, the defendant shall be on supervised release for a term of three years.
                                                                                                                    ~--=--------~




      ' The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
        the custody of the Bureau of Prisons.
           The defendant shall not commit another federal, state; or local crime.
           The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
           periodic drug tests thereafter, as determined by the court.

            ~    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk
                 offuture substance abuse. (Check, if applicabJe.)
            ~    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
      io The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      !o         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
                 seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex'offender registration agency in which he or she(
                 resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
           D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay in
       ~ccordance with the Schedule of Payments sheet of this judgment

      The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
      conditions on the attached page.


i                                        STANDARD CONDITIONS OF SUPERVISION
: 1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
'      '                                                                               '
· 2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe'probation officer;
     4) the defendant shall support his or her dependents and meet other family responsibilities;
 '. 5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
 i acceptable reasons;
 ·16) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment; '                 ·
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
     su~stance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  j s) fhe defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  f 9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted

   1of~ felony unless granted permission to do so by the probation officer;
~ O) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
   '. c;onfiscation of any contraband observed in plain view of the probation officer;
11) tre defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the
         ·defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant's compliance with such notification requirement.
              Case: 4:15-cr-00049-CDP Doc. #: 253 Filed: 01/05/16 Page: 4 of 7 PageID #: 1307
AO 2458 (Rev. 10/15)    Judgment in Criminal Case   Sheet 3A - Supervised Release

                                                                                                             Judgment-Page   _4_ of _6__

  DEFENDANT: JASMINKA RAMIC
  CASE NUMBER: Sl-4:15CR00049-6 CDP
  District:     Eastern District of Missouri
                                       ADDITIONAJ;., SUPERVISED RELEASE TERMS
  While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply with
  the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall pay those
  dosts based on a co-payment fee established by the probation office.
  L The defendant shall submit her person, residence, office, computer, or vehicle to a search, conducted by the probation office based upon
' rea5onable suspicion of contraband or evidence of a violation of a condition of release. The defendant shall warn any other residents that
  the premises may be subject to searches pursuant to this condition.

  2. The defendant shall participate in a mental health evaluation and shall follow any recommendations of such and/or shall participate in a
  mental health program approved by the probation office.

  3. The defendant shall provide the probation office access to any requested financial information.
                    Case: 4:15-cr-00049-CDP Doc. #: 253 Filed: 01/05/16 Page: 5 of 7 PageID #: 1308
AO 245B (Rev. 10/15)          Judgment in Criminal Case     Sheet 5 - Criminal Monetary Penalties

                                                                                                                                 Judgment-Page       5   of   _6__
 DEFENDANT: JASMINKA RAMIC
 CASE NUMBER: Sl-4:15CR00049-6 CDP
 District: Eastern District of Missouri
                                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6
      i                                               Assessment                             Fine                                        Restitution
             I
             I                                      $100.00
             I Totals:
             I
       i
     [ ] The determination of restitution is deferred until                   -----.                 An Amended Judgment in a Criminal Case (AO 245C)
         will be entered after such a determination.    ·
             j

     D            The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
                                                                                                                         .
 o~herwisein the priority order or percentage payment column below. However, pursuant ot 18 U.S.C. 3664(i), all nonfederal
 v\ctims must be paid before the United States is paid.

Name of Payee                                                                                       Total Loss*       Restitution Ordered Priority. or PeFcentage


         1
         I




[J Restitution amount ordered pursuant to plea agreement
     I
     i
 I
 I
 I
D before
  The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
         the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the-payment options on
 1
.I               Sheet 6 may be subject to penalties for delinquency and default, pursuant to l~ U.S.C. § 3612(g).                               .

0                The court determined that the defendant does not- have the ability to pay interest and it is ordered that:
                  0    The interest requirement is waived for the.                D      fine               D     restitution.
                  O    The interest requirement for the     D     fine     D      restitution is modified as follows:




   *Findings for the total amount of losses are requir.ed under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses
 committed on or after September 13, 1994 but before April 23, 1996.
                  Case: 4:15-cr-00049-CDP Doc. #: 253 Filed: 01/05/16 Page: 6 of 7 PageID #: 1309
AO 245B (Rev. 10/15)       Judgment in Criminal Case     Sheet 6 - Schedule of Payments

                                                                                                                                           6_ of
                                                                                                                           Judgment-Page _ _           _6_ _
  DEFENDANT: JASMINKA RAMIC
  CASE NUMBER: Sl-4:15CR00049-6 CDP
  District:           Eastern District of Missouri
                                                             SCHEDULE OF PAYMENTS
          ' Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
       i
       A    181   Lump sum payment of         $100.00                due immediately, balance due
       I                                      ---
       I                              D     not later than                                , or

                                      181   in accordance with    D    C,   D   D, or       D    E below; or   181 F below; or
  BD              Payment to begin immediately (may be combined with                 D    C,     D    D, or     D E below; or D       F below; or
  CD           Payment in equal                        (e.g., equal, weekly, monthly, quarterly) installments of                        over a period of
                                    e.g., months or years), to commence                           (e.g., 30 or 60 days) after the date of this judgment; or
              -------
  D        D Payment in equal                       (e.g., equal, weekly, monthly, quarterly) installments of                       over a period of
                                  · e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
            -------
            term of supervision; or
       I
 Ei D             Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after Release froin
                  imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or
       I
  ~        181 . Special instructions regarding the payment of criminal monetary penalties:
       I
IT1 IS FURTHER ORDERED that the defendant shall pay to the United States a special assessment of$100, which shall be due immediately.
  II
  !Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
  ;during the period of imprisonmt:nt. All criminal monetary penalty payments, except those payments made through the Bureau of Prisons'
  ·~nmate Financial Responsibility Program ~re made to the clerk of the court.                                  ·
  1                                                                    .
      jThe defendant 'Yill receive credit for all payments previously made toward any criminal monetary penalties imposed.




      '
  '
      D       Joint and Several
                  Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
  I               and corresponding payee, if appropriate.
  'I
      I




              The defendant shall pay the cost of prosecution.

              The defendant shall pay the following court cost(s): .




  D           The defendant shall forfeit the defendant's interest in the following property to the United States:




   Payments shall be applied in the following order: (1 ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
  ,(5)fine interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.
  I
  i
         Case: 4:15-cr-00049-CDP Doc. #: 253 Filed: 01/05/16 Page: 7 of 7 PageID #: 1310

                                                               DEFENDANT: JASMJNKA RAMIC
                                                               CASE NUMBER: Sl-4:15CR00049-6 CDP
                                                               USM Number:   42397-044
                                                                             ----------~

                                   UNITED STATES MARSHAL
                             RETURN OF JUDGMENT IN A CRIMINAL CASE

    f1 have executed this judgment as follows:




    The Defendant was delivered on - - - - - - - to - - - - - - - - - - - - - - - - - -

    . at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, with a certified copy of this judgment.



                                                               UNITED ST ATES MARSHAL


                                                          By
                                                                  Deputy U.S. Marshal

I
i


10         The Defendant was released on           to
                                            --------------- Probation

:O         The Defendant was released on _ _ _ _ _ _ _ to_ _ _ _ _ _ _ Supervised Release

    D       and a Fine of- - - - - - - -         D   and Restitution in the amount of- - - - - - - - -



                                                               UNITED ST ATES MARSHAL


                                                          By
                                                                   Deputy U.S. Marshal


    I certify and Return that on_·_ _ _ _ _ _·,      I took custody of - - - - - - - - - - - - -


     at - - - - - - - - - - - a n d delivered same t o - - - - - - - - - - - - - - - -

     on - - - - - - - - - - - - - - F.F.T. - - - - - - - - - - - - - - - - - -
                                                               U.S. MARSHAL E/MO

                                                            By DUSM _ _ _ _ _ _ __
